       Case 3:16-md-02741-VC Document 18766 Filed 07/08/24 Page 1 of 1




 1
                                UNITED STATES DISTRICT COURT
 2
                             NORTHERN DISTRICT OF CALIFORNIA
 3

 4
         IN RE: ROUNDUP PRODUCTS                                MDL No. 2741
 5       LIABILITY LITIGATION                                   Case No. 16-md-02741-VC

 6
                                                                [PROPOSED] ORDER
 7       This document relates to:                              GRANTING MOTION TO
                                                                DISMISS FOR FAILURE TO
 8                                                              PROSECUTE
         Kenneth Bull v. Monsanto Co.,
 9       Case No. 3:22-cv-03380-VC

10
          The motion to dismiss for failure to prosecute is granted. Plaintiff’s claims against Defendant
11
     Monsanto Company are dismissed without prejudice.
12

13        IT IS SO ORDERED.

14

15           July 8, 2024
     Dated: _________________                           ________________________________
                                                        VINCE CHHABRIA
16
                                                        United States District Judge
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